Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 1 of 13 PageID #: 4090



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION


   DANCO, INC.,

          Plaintiff,

   v.                                                Civil Action No.: 5:16-CV-00073-JRG-CMC


   FLUIDMASTER, INC.,

          Defendant.


                [PLAINTIFF’S PROPOSED] CLAIM CONSTRUCTION CHART

          In accordance with the Fifth Amended Agreed Docket Control Order [Docket Entry #

   91] and P.R. 4-5(d) Plaintiff Danco, Inc. (“Danco”) hereby submits its proposal for the Joint

   Claim Construction Chart for asserted U.S. Patent Nos. 8.943,620 (“the ‘620 Patent”) and

   9.181,687 (“the ‘687 Patent”). Danco offered to meet and confer with Defendant and provided a

   draft of this claim construction chart to Defendant on August 13, 2017, but the parties have not

   been able to meet and confer on a claim construction chart to be submitted jointly. Attached

   hereto as Exhibit A is a chart of the claim terms and phrases proposed for construction by

   Defendant Fluidmaster, Inc. and on which the parties agree. Attached hereto as Exhibit B is a

   chart of the claim terms and phrases proposed for construction by both parties and on which the

   parties disagree. Attached hereto as Exhibit C is a chart of the claim terms and phrases proposed

   for construction by Defendant Fluidmaster, Inc. and on which the parties disagree. Attached

   hereto as Exhibit D is a chart listing the complete language of disputed claims with disputed

   claim terms and phrases in bold type.

          Respectfully submitted, this 14th day of August, 2017, by:


                                                       /s/ Eric G. Maurer
Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 2 of 13 PageID #: 4091



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             Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 3 of 13 PageID #: 4092



                                  EXHIBIT A – JOINT CLAIM CONSTRUCTION CHART

    TERMS/PHRASES PROPOSED FOR CONSRUCTION BY FLUIDMASTER UPON WHICH THE PARTIES AGREE

                                                  U.S. Patent No. 8,943,620
                                                                Danco’s        Fluidmaster’s
   Claim term, phrase or clause           Claim(s)              Proposed         Proposed      Court’s Construction
                                                              Construction     Construction
        “flush mechanism”                1, 2, 4, 11           [AGREED]         [AGREED]         Plain meaning.
  “predefined flush capability”              1, 2              [AGREED]         [AGREED]         Plain meaning.
             “between”                      1, 21              [AGREED]         [AGREED]         Plain meaning.
           “flush orifice”                1, 20, 21            [AGREED]         [AGREED]         Plain meaning.
        “sealing member”                    1, 21              [AGREED]         [AGREED]         Plain meaning.
     “seat a sealing member”                   1               [AGREED]         [AGREED]         Plain meaning.
“in contact with the flush orifice”           21               [AGREED]         [AGREED]         Plain meaning.


                                                   U.S. Patent No. 9.181,687
                                                                 Danco’s       Fluidmaster’s
   Claim term, phrase or clause            Claim(s)              Proposed        Proposed      Court’s Construction
                                                               Construction    Construction
 “extending beyond the flange”                  1               [AGREED]        [AGREED]         Plain meaning.
     “flush valve opening”                    1, 14             [AGREED]        [AGREED]         Plain meaning.
       “sealing material”               1, 2, 3, 14, 15         [AGREED]        [AGREED]         Plain meaning.
              “lip”                           4, 14             [AGREED]        [AGREED]         Plain meaning.
         “engage a lip”                         4               [AGREED]        [AGREED]         Plain meaning.
         “support legs”                  4, 12, 14, 20          [AGREED]        [AGREED]         Plain meaning.
         “mating ears”                     7, 17, 18            [AGREED]        [AGREED]         Plain meaning.
       “annular groove”                   7, 8, 17, 18          [AGREED]        [AGREED]         Plain meaning
“to provide structural support”                10               [AGREED]        [AGREED]         Plain meaning
      “extending between”                  4, 14, 20            [AGREED]        [AGREED]         Plain meaning
             Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 4 of 13 PageID #: 4093



                                 EXHIBIT B – JOINT CLAIM CONSTRUCTION CHART

TERMS/PHRASES FOR WHICH BOTH PARTIES SEEK CONSRUCTION AND UPON WHICH THE PARTIES DISAGREE

                                   U.S. Patent No. 8,943,620 and U.S. Patent No. 9,181,687
                                                        Danco’s Proposed      Fluidmaster’s Proposed
Claim term, phrase or clause         Claims                                                                      Court’s Construction
                                                          Construction             Construction
                                    ‘620 Patent                                      “designed for direct
                                         1                                           separation and direct
  “detachably attached”                                  “removably retained”        reattachment without
                                    ‘687 Patent                                      degradation (referring
                                       4, 14                                         to gasket)”


                                    ‘620 Patent                                      “valve which uses a
                                                         “a valve located at the
                                       1, 21                                         sealing member to
                                                         bottom of a toilet tank
                                                                                     ensure water does not
      “flush valve”                                      used to discharge water
                                                                                     leak into the toilet bowl
                                                         from the toilet tank to a
                                    ‘687 Patent                                      until a flush is
                                                         toilet bowl”
                                       4, 14                                         initiated”

                                    ‘620 Patent
                                     1, 11, 14                                       “a dual flush
                                                         “cylindrical-shaped
                                                                                     mechanism having at
   “dual flush canister”                                 device providing for
                                                                                     least a partially
                                     ‘687 Patent         two flush volumes”
                                                                                     cylindrical shape”
                               4, 7, 9, 14, 17, 19, 20
             Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 5 of 13 PageID #: 4094



                                EXHIBIT C – JOINT CLAIM CONSTRUCTION CHART

TERMS/PHRASES FOR WHICH FLUIDMASTER SEEKS CONSRUCTION AND UPON WHICH THE PARTIES DISAGREE

                                                   U.S. Patent No. 8,943,620
Claim term, phrase                         Danco’s Proposed              Fluidmaster’s Proposed
                        Claims                                                                         Court’s Construction
    or clause                                 Construction                     Construction
                                   Needs no construction; plain
                                   meaning.                          “a non-adhesive object that
                                                                     creates a fluid seal which is
“gasket”                 1, 21
                                   Or, if construed: “a rubber       maintained by compressive
                                   ring, for placing around a joint resilience”
                                   to make it watertight.”
                                                                     “any of various devices used
                                                                     in adjusting or fitting to each
                                   Needs no construction; plain
                                                                     other the separate parts of a
                                   and ordinary meaning.
                                                                     machine or apparatus whose
“adaptor"            4, 11, 12, 21
                                                                     design is such that adjustment
                                   Or, if construed: “a connector
                                                                     or fitting would otherwise not
                                   for joining parts.”
                                                                     be possible (as two pipes of
                                                                     different diameters)”
                                   Needs no construction; plain
                                   meaning.
“rotatably
                          12                                         “coupled through rotation”
coupled”
                                   Or, if construed: “joined to
                                   allow rotation”
                                   Needs no construction; plain      Indefinite.
                                   meaning.
“actuator”                22                                         Or, if determined not to be
                                   Or, if construed: “mechanism      indefinite, “part or assembly
                                   to start a process”               which causes movement”
              Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 6 of 13 PageID #: 4095




                                                    U.S. Patent No. 9,181,687
Claim term, phrase                           Danco’s Proposed             Fluidmaster’s Proposed
                       Claims                                                                             Court’s Construction
    or clause                                  Construction                     Construction
                                                                      “any of various devices used
                                                                      in adjusting or fitting to each
                                     Needs no construction; plain
                                                                      other the separate parts of a
                                     meaning.
“adapter”                                                             machine or apparatus whose
                          14
                                                                      design is such that adjustment
                                     Or, if construed: “a connector
                                                                      or fitting would otherwise not
                                     for joining parts.”
                                                                      be possible (as two pipers of
                                                                      different diameters)”
                                                                      Governed by 35 U.S.C. § 112,
                                     Not a “means-plus-function”
                                                                      ¶ 6.
                                     claim.
“flush opening”       4, 14, 20
                                                                        “upper flange and ear
                                     Needs no construction; plain
                                                                        structure of adapter fittings
                                     meaning.
                                                                        603, 604 via gasket 606”
                                     Needs no construction; plain       “a spacer having two parallel
                                     meaning.                           rings vertically separated by
“basket structure”   4, 9, 13, 14,
                                                                        connecting members, the
                        19, 20
                                     Or, if construed: “basket-         lower ring having a horizontal
                                     shaped structure”                  orientation (e.g., a floor)”
                                                                        Governed by 35 U.S.C. § 112,
                                     Not a “means-plus-function”
                                                                        ¶ 6.
                                     claim.
                     4, 7, 14, 17,
“first end”
                           20                                           “top ring of adapter 133
                                     Needs no construction; plain
                                                                        having internal slots 233 and
                                     meaning.
                                                                        internal annular groove 236”
                                     Needs no construction; plain
                                     meaning.                           “the lower ring having a
“second end”         4, 13, 14, 20                                      horizontal orientation (e.g.,
                                     Or, if construed: “the latter of   floor) of the basket structure”
                                     two extremities.”
             Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 7 of 13 PageID #: 4096



                                                                  Governed by 35 U.S.C. § 112,
                                   Not a “means-plus-function”
“the first end being                                              ¶ 6.
                                   claim.
configured to
                       4, 14, 20
couple to a dual                                                  “top ring of adapter 133
                                   Needs no construction; plain
flush canister”                                                   having internal slots 233 and
                                   meaning.
                                                                  internal annular groove 236”
                                   Not a “means-plus-function”    Governed by 35 U.S.C. § 112,
                                   claim.                         ¶ 6.
“tabs”                 4, 13, 14
                                   Needs no construction; plain   “tabs of the clamping arms
                                   meaning.                       913/933”
                                   Not a “means-plus-function”    Governed by 35 U.S.C. § 112,
                                   claim.                         ¶ 6.
“tabs extending
                        4, 14
inward”
                                   Needs no construction; plain   “tabs of the clamping arms
                                   meaning.                       913/933”
“the plurality of
tabs being
                                   Not a “means-plus-function”    Governed by 35 U.S.C. § 112,
configured to
                                   claim.                         ¶ 6.
engage a lip of a
                          4
flush opening of a
                                   Needs no construction; plain   “tabs of the clamping arms
flush valve
                                   meaning.                       913/933”
previously installed
in the toilet”
                                                                  Governed by 35 U.S.C. § 112,
                                   Not a “means-plus-function”
                                                                  ¶ 6.
“adapter flush                     claim.
opening of a flush        14
                                                                  “upper flange and ear
valve adapter”                     Needs no construction; plain
                                                                  structure of adapter fittings
                                   meaning.
                                                                  603, 604 via gasket”
                                   Not a “means-plus-function”    Governed by 35 U.S.C. § 112,
“circular support
                        20, 21     claim.                         ¶ 6.
structure”
            Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 8 of 13 PageID #: 4097



                              Needs no construction; plain   “clamp 136, or sleeve adaptor
                              meaning.                       180”
“a circular support           Not a “means-plus-function”    Governed by 35 U.S.C. § 112,
structure                     claim.                         ¶ 6.
configured to align    20
the dual                      Needs no construction; plain   “clamp 136, or sleeve adaptor
flush canister”               meaning.                       180”
              Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 9 of 13 PageID #: 4098



                                   EXHIBIT D – JOINT CLAIM CONSTRUCTION CHART

                                       COMPLETE LANGUAGE OF DISPUTED CLAIMS

                                                     U.S. Patent No. 8,943,620
Claim                              Complete Language of Disputed Claims With Disputed Terms in Bold
  1     An apparatus, comprising:
       a flush mechanism configured to provide for a predefined flush capability in a toilet; and
       a gasket detachably attached to the flush mechanism, the gasket forming a seal between the flush mechanism and a flush
         orifice of a flush valve, the seal being maintained during a full flush of the toilet by the flush mechanism, where the flush
         valve is configured to seat a sealing member.
  4     The apparatus of claim 2, wherein the dual flush mechanism further comprises an adaptor configured to detachably
       attach to the dual flush mechanism, where the gasket is attached to the adaptor.
 11     The apparatus of claim 4, wherein the dual flush mechanism further comprises a dual flush canister coupled to the
      adaptor.
 12     The apparatus of claim 11, wherein the dual flush canister is rotatably coupled to the adaptor.
 14      The apparatus of claim 13, wherein the gasket includes a pseudo I-beam structure extending around at least a portion of
       an edge of the second opening.
 21     A method, comprising the steps of:
       removing a sealing member from a flush valve in a toilet, the flush valve including a flush orifice that is sealed by the
         sealing member;
       positioning an adaptor having a gasket over the flush orifice of the flush valve so that the gasket comes into contact with
         the flush orifice, thereby creating a seal between the adaptor and the flush orifice; and
       attaching a dual flush canister to the adaptor with the gasket in contact with the flush orifice, the dual flush canister
         providing for a dual flush capability.
 22     The method of claim 21, further comprising the step of installing an actuator that triggers an operation of the dual flush
       canister.
            Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 10 of 13 PageID #: 4099



                                                      U.S. Patent No. 9,181,687
Claim                                Complete Language of Disputed Claims With Disputed Terms in Bold
  4      An apparatus, comprising:
        a basket structure having a first end and a second end, the first end being configured to couple to a dual flush canister
          for a toilet, the dual flush canister being configured to provide both a short flush and a long flush of the toilet;
        a plurality of tabs extending inward toward a center axis of the basket structure, the plurality of tabs being configured to
          engage a lip of a flush opening of a flush valve previously installed in the toilet; and
        a plurality of support legs extending between the first end and the second end defining a plurality of passageways from an
          exterior of the basket structure to the flush opening.
 7       The apparatus of claim 4, wherein the first end is coupled to the dual flush canister via a plurality of mating ears fitting
        within an annular groove.
  9      The apparatus of claim 4, wherein the dual flush canister can be rotated with respect to the basket structure.
 13      The apparatus of claim 4, wherein the plurality of tabs are positioned at the second end of the basket structure.
 14      An apparatus, comprising:
        a dual flush canister configured to provide both a short flush and a long flush of a toilet;
         a basket structure having a first end and a second end, the first end being configured to couple to the dual flush
          canister;
        a plurality of tabs extending inward toward a center axis of the basket structure, the plurality of tabs engaging a lip of an
          adapter flush opening of a flush valve adapter;
        a plurality of support legs extending between the first end and the second end defining a plurality of passageways from an
          exterior of the basket structure to the adapter flush opening; and
        the flush valve adapter further comprising:
            a flange configured to mate to a flush valve opening of a previously installed flush valve in the toilet, the flange being
             offset at an angle with respect to the adapter flush opening; and
            a sealing material forming a seal between the flange and the flush valve opening.
 17      The apparatus of claim 14, wherein the first end is coupled to the dual flush canister via a plurality of mating ears fitting
        within an annular groove.
 19      The apparatus of claim 14, wherein the dual flush canister can be rotated with respect to the basket structure.
 20      An apparatus, comprising:
        a dual flush canister configured to provide both a short flush and a long flush of a toilet;
        a basket structure having a first end and a second end, the first end being configured to couple to the dual flush canister;
        a plurality of support legs extending between the first end and the second end defining a plurality of passageways from an
          exterior of the basket structure to a flush opening; and
         Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 11 of 13 PageID #: 4100



     a circular support structure configured to align the dual flush canister with the flush opening, the circular support
       structure having an inner diameter greater than an outer diameter of a toilet overflow tube.
21    The apparatus of claim 20, wherein the circular support structure is mounted on the toilet overflow tube.
Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 12 of 13 PageID #: 4101




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION


    DANCO, INC.,

          Plaintiff,

    v.                                                Civil Action No.: 5:16-CV-00073-JRG-CMC


    FLUIDMASTER, INC.,

          Defendant.


                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 14, 2017, I caused a true and correct copy of the foregoing

   [PLAINTIFF’S PROPOSED] CLAIM CONSTRUCTION CHART to be served this day in

   electronic form on all counsel of record via filing same with the Court via CM/ECF.

                                                Respectfully submitted,

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Case 5:16-cv-00073-JRG-CMC Document 94 Filed 08/14/17 Page 13 of 13 PageID #: 4102



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